  Case: 1:23-cv-16208 Document #: 110 Filed: 05/22/25 Page 1 of 20 PageID #:1866




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

STAFFING SERVICES ASSOCIATION OF
ILLINOIS, AMERICAN STAFFING
ASSOCIATION, CLEARSTAFF INC., M.M.D.             No. 23 C 16208
INC. D/B/A THE ALLSTAFF GROUP, INC.,
TEMPSNOW EMPLOYMENT AND                          Judge Thomas M. Durkin
PLACEMENT SERVICES LLC,

              Plaintiffs,

       v.

JANE R. FLANAGAN, SOLELY IN HER
CAPACITY AS THE DIRECTOR OF THE
ILLINOIS DEPARTMENT OF LABOR,

              Defendant.


                    MEMORANDUM OPINION AND ORDER

      Temporary staffing agencies and trade associations brought this action against

the Director of the Illinois Department of Labor to enjoin the enforcement of several

amendments to the Illinois Day and Temporary Labor Services Act. Last year, the

Court preliminarily enjoined Section 42 of that law as preempted by the Employee

Retirement Income Security Act of 1974. While that order was on appeal, the Illinois

General Assembly amended Section 42. Defendant dismissed the appeal, Plaintiffs

filed an amended complaint, and now Plaintiffs ask the Court to preliminarily enjoin

the enforcement of the new Sections 42(b) and (c). For the following reasons, that

motion is denied.




                                         1
    Case: 1:23-cv-16208 Document #: 110 Filed: 05/22/25 Page 2 of 20 PageID #:1867




                                     Background

        On August 4, 2023, the Illinois General Assembly enacted and Governor

Pritzker signed several amendments to the Illinois Day and Temporary Labor

Services Act (“DTLSA”) into law. The amendments are aimed at enhancing

protections for the labor and employment rights of the more than 650,000 temporary

workers in the State. See 820 ILCS 175/2. Those temporary workers are employed by

temporary staffing agencies (“agencies”) and sent to third-party client work sites.

        On November 22, 2023, Plaintiffs, which include three agencies and two agency

trade associations, filed this suit challenging three of the new provisions: Sections 11,

42, and 67. Plaintiffs moved for a preliminary injunction prohibiting the Illinois

Department of Labor (“the Department”) from enforcing all three provisions and

related regulations. Plaintiffs asked the Court to preliminarily enjoin the

enforcement of Section 42 as preempted by the Employee Retirement Income Security

Act of 1974 (“ERISA”), Section 11 as preempted by the National Labor Relations Act,

and Section 67 as violating due process principles. 1 Following a hearing, where the

Court heard argument and testimony from representatives of the three agency

Plaintiffs, the Court granted the motion as to Section 42 and denied the motion as to

Sections 11 and 67. R. 45 (“March 2024 Order”). Thereafter, Defendant filed an

interlocutory appeal of the March 2024 Order, and this Court stayed the litigation

pending the appeal. During the pendency of the appeal, in June 2024, the Illinois



1 Shortly before Plaintiffs filed this suit, the General Assembly passed, and the
Governor signed, legislation delaying the effective date of Section 42 until April 1,
2024.
                                           2
  Case: 1:23-cv-16208 Document #: 110 Filed: 05/22/25 Page 3 of 20 PageID #:1868




General Assembly passed and Governor Pritzker signed into law new amendments

to the DTLSA, including changes to Section 42.

      Section 42 guarantees temporary workers “[e]qual pay for equal work” and

covers both wages and benefits. Plaintiffs’ challenge is focused on the benefits

provision, not the wages provision. The benefits provision in the original Section 42

provided in relevant part:

      A day or temporary laborer who is assigned to work at a third party
      client for more than 90 calendar days shall be paid not less than the . . .
      equivalent benefits as the lowest paid directly hired employee of the
      third party client with the same level of seniority at the company and
      performing the same or substantially similar work on jobs the
      performance of which requires substantially similar skill, effort, and
      responsibility, and that are performed under similar working conditions.
      If there is not a directly hired comparative employee of the third party
      client, the day or temporary laborer shall be paid not less than the . . .
      equivalent benefits of the lowest paid direct hired employee of the
      company with the closest level of seniority at the company. A day and
      temporary labor service agency may pay the hourly cash equivalent of
      the actual cost benefits in lieu of benefits required under this Section.

The benefits provision in the new Section 42(b) provides:

      A day and temporary labor agency shall provide a day or temporary
      laborer who is assigned to work and performs work at the same third
      party client for more than 720 hours within a 12–month period,
      beginning on or after April 1, 2024, substantially similar benefits to the
      job classification of employees performing the same or substantially
      similar work on jobs and performed under similar working conditions. A
      day and temporary labor service agency may pay the hourly average
      cash equivalent of the actual cost of the benefits the third party client
      provides the applicable directly hired employees in lieu of benefits
      required under this subsection.

820 ILCS 175/42(b). Additionally, Section 42(c) provides:

      Upon request, a third party client to which a day or temporary laborer
      has been assigned to work and performed work for more than 720 hours
      within a 12-month period or 4,160 hours within a 48-month period shall

                                          3
    Case: 1:23-cv-16208 Document #: 110 Filed: 05/22/25 Page 4 of 20 PageID #:1869




        be obligated to timely provide the day and temporary labor service
        agency with all necessary information related to job duties, working
        conditions, pay, seniority, and benefits it provides to the applicable
        classification of directly hired employees necessary for the day and
        temporary labor service agency to comply with this Section. Upon
        receipt of the accurate and complete information described in this
        subsection from the third party client, it shall be the responsibility and
        duty of the day and temporary labor service agency to calculate and
        determine the straight-time hourly rate of pay and the benefits it shall
        offer to the day or temporary laborer, including any cash equivalent. The
        failure by a third party client to provide any of the information required
        under this Section shall constitute a notice violation by the third party
        client under Section 95. For purposes of this Section, the day and
        temporary labor service agency shall be considered a person aggrieved
        as described in Section 95.

820 ILCS 175/42(c).

        Defendant informed the Seventh Circuit that the amendments did “not

materially amend [Section 42’s] benefits provision,” and issued a bulletin advising

agencies that the Department considered Section 42(b) to be enjoined by the March

2024 Order. In September 2024, Plaintiffs moved to modify the March 2024 Order

under Federal Rule of Civil Procedure 62(d) or issue an indicative ruling under

Federal Rule of Civil Procedure 62.1, which the Court denied. Thereafter, Defendant

voluntarily dismissed the appeal, and the Court granted the joint motion to lift the

stay on the district court proceedings. Plaintiffs amended their complaint and filed

the present motion to preliminarily enjoin the enforcement of the new Sections 42(b)

and (c). 2 The Court held oral argument, at which Defendant stated that it was no



2The ERISA Industry Committee, the American Benefits Council, the National
Retail Federation, the Chamber of Commerce of the United States of America, the
National Alliance of Healthcare Coalitions, the Society for Human Resource
Management, the HR Policy Association, the Business Group on Health, and the


                                            4
  Case: 1:23-cv-16208 Document #: 110 Filed: 05/22/25 Page 5 of 20 PageID #:1870




longer taking the position that the amendment does not materially amend the

original benefits provision.

                                   Legal Standard

      A preliminary injunction is an “extraordinary remedy.” Winter v. Nat. Res. Def.

Council, Inc., 555 U.S. 7, 24 (2008). Parties seeking such relief must establish (1) that

they are likely to succeed on the merits; (2) that they are likely to suffer irreparable

harm in the absence of preliminary relief; (3) that the balance of the equities tip in

their favor; and (4) that an injunction is in the public interest. Id. at 20. Plaintiffs

need not demonstrate likelihood of success by a preponderance of the evidence. Bevis

v. City of Naperville, Ill., 85 F.4th 1175, 1188 (7th Cir. 2023). However, they must

“make a ‘strong’ showing that reveals how they propose to prove their case.” Id.

(quoting Ill. Republican Party v. Pritzker, 973 F.3d 760, 763 (7th Cir. 2020)). A mere

possibility or “better than negligible” chance of success is not enough. Id. (citations

omitted).

                                      Discussion

      The Court’s analysis begins and ends with Plaintiffs’ likelihood of success on

the merits. Plaintiffs argue that ERISA preempts Section 42(b) and (c). Section 42(b)

requires an agency to provide temporary workers who have worked more than 720

hours at a third party client site with benefits that are “substantially similar” to those

the client provides certain directly hired employees or pay “the hourly average cash




Business Roundtable sought leave to file an amici curiae brief in support of Plaintiff’s
motion, which the Court granted. See R. 89, 89-1. The arguments presented in the
brief largely mirror Plaintiffs’ arguments.
                                            5
    Case: 1:23-cv-16208 Document #: 110 Filed: 05/22/25 Page 6 of 20 PageID #:1871




equivalent of the cost of the benefits” provided by the client. 820 ILCS 175/42(b).

Section 42(c) requires third party clients to timely disclose “all necessary information

related to job duties, working conditions, pay, seniority, and benefits it provides to

the applicable classification of directly hired employees” so that agencies can meet

their obligations under Section 42. 820 ILCS 175/42(c).

        As an initial matter, Section 42(c) does not impose any obligations on Plaintiff

agencies. It was on that basis that the Court previously held that Plaintiffs did not

have standing to challenge the prior version of Section 42(c). Cf. Davis v. Fed. Election

Comm’n, 554 U.S. 724, 734 (2008) (“Standing is not dispensed in gross.”). Plaintiffs

do not raise any argument to the contrary. As before, the proper parties to raise such

a challenge are the third party clients. Therefore, the Court considers only whether

Plaintiffs have made an adequate showing that ERISA preempts Section 42(b).

        I.    Law on ERISA Preemption

        ERISA is intended to provide “a uniform regulatory regime over employee

benefit plans.” Aetna Health Inc. v. Davila, 542 U.S. 200, 208 (2004). To that end,

ERISA preempts “any and all State laws insofar as they may now or hereafter relate

to any employee benefit plan” covered by ERISA. 3 29 U.S.C. § 1144(a). Congress

enacted this “broad” preemption provision “to ensure that plans and plan sponsors

would be subject to a uniform body of benefits law, thereby minimizing the




3 An “employee benefit plan” is defined as any “plan, fund, or program” that is
“established or maintained by an employer” to provide certain benefits, such as
healthcare, disability, unemployment, and retirement benefits. 23 U.S.C. § 1002(1),
(2)(A).
                                            6
  Case: 1:23-cv-16208 Document #: 110 Filed: 05/22/25 Page 7 of 20 PageID #:1872




administrative and financial burden of complying with conflicting directives and

ensuring that plans do not have to tailor substantive benefits to the particularities of

multiple jurisdictions.” Halperin v. Richards, 7 F.4th 534, 541 (7th Cir. 2021) (citing

Rutledge v. Pharm. Care Mgmt. Ass’n, 592 U.S. 80, 86 (2020)) (cleaned up).

      A state law “relates” to an ERISA plan, and is thus preempted, if it “has a

connection with or reference to such a plan.” Cal. Div. of Labor Standards

Enforcement v. Dillingham Constr., N.A., Inc., 519 U.S. 316, 324 (1997). A law has a

“connection with” with ERISA plans if it “governs a central matter of plan

administration or interferes with nationally uniform plan administration.” Gobeille

v. Liberty Mut. Ins. Co., 577 U.S. 312, 320 (2016) (citing Egelhoff v. Egelhoff, 532 U.S.

141, 148 (2001)). A law makes “reference to” to ERISA plans if “it acts immediately

and exclusively upon ERISA plans or where the existence of ERISA plans is essential

to the law’s operation.” Id. at 319–20 (citations omitted). Moreover, there is a

presumption against preemption in areas of traditional state regulation. See New

York State Conf. of Blue Cross & Blue Shield Plans v. Travelers Ins. Co., 514 U.S.

645, 655 (1995); Laborers’ Pension Fund v. Miscevic, 880 F.3d 927, 931 (7th Cir. 2018).

      Plaintiffs contend that Section 42(b) “relates to” ERISA plans in four main

ways. First, it “references” ERISA plans by tethering the statutory obligation to the

value of ERISA plans. Second, it “connects with” ERISA plans by impeding the

agencies’ ability to administer their plans in a uniform way. Third, it imposes an

ERISA plan by requiring agencies to engage in prolonged, individualized decision-

making regarding benefits. And fourth, it creates an alternative enforcement scheme



                                           7
  Case: 1:23-cv-16208 Document #: 110 Filed: 05/22/25 Page 8 of 20 PageID #:1873




that competes with ERISA. While this case presents a close question, the Court finds

that Plaintiffs have not adequately shown that they are likely to succeed on any of

these bases.

      II.      Reference to ERISA Plans

      Plaintiffs contend that Section 42(b) makes “reference to” ERISA plans by

tying the statutory obligations to the nature and value of such plans. The provision

bears some similarity to the ordinance at issue in District of Columbia v. Greater

Washington Board of Trade, 506 U.S. 125, 126–27 (1992). In Greater Washington, the

Supreme Court considered an ordinance that required employers who provided

health insurance to their employees to provide “equivalent health insurance coverage

for injured employees eligible for workers’ compensation benefits.” Id. The Court held

that the ordinance made “reference to” an ERISA plan because the coverage it

required was “measured by reference to” the level of benefits provided by the

employer’s ERISA plan. Id. at 130 (“[A]ny state law imposing requirements by

reference to such covered programs must yield to ERISA.”).

      Similarly here, an agency’s obligations under Section 42(b)—whether

providing “substantially similar” benefits or paying the cash equivalent of the cost of

benefits provided by the client—are measured by reference to the benefits the agency

provides to its workers and/or the benefits its clients provide to their employees. In

many cases, agencies and their clients provide benefits through ERISA plans. E.g.,

R. 88-2 ¶¶ 43–50 (benefits offered by ClearStaff’s clients include 401(k) programs and

healthcare plans); R. 88-3 ¶¶ 17–33 (AllStaff offers 401(k) program and three health



                                          8
  Case: 1:23-cv-16208 Document #: 110 Filed: 05/22/25 Page 9 of 20 PageID #:1874




insurance plans). But Plaintiffs also concede that in many cases, agencies and their

clients provide benefits that are not covered by ERISA, “such as leave.” R. 88 at 22.

Because Section 42(b) is “indifferent” to whether those benefits are offered through

an ERISA plan or not, it cannot be said that the statute “refers to” such plans under

prevailing case law. See Dillingham, 519 U.S. at 327–28 (state law did not refer to

ERISA plans because the apprenticeship programs it regulated did not need to be

ERISA programs); see also Rutledge, 592 U.S. at 481 (state law did not refer to ERISA

plans because it regulated pharmacy benefit managers “whether or not the plans they

service fall within ERISA”); Travelers, 514 U.S. at 656 (state law did not refer to

ERISA plans because it imposed surcharges on patients and HMOs regardless of

whether coverage or membership was secured by an ERISA plan, private purchase,

or otherwise). On that basis, Plaintiffs have not shown they are likely to succeed on

their ERISA preemption claim based on an impermissible “reference to” ERISA plans.

      III.   Connection with ERISA Plans

      Plaintiffs also argue that Section 42(b) is “connected with” ERISA plans. This

type of ERISA preemption targets “laws that require providers to structure their

benefit plans in particular ways, such as by requiring payment of specific benefits or

by binding plan administrators to specific rules for determining beneficiary status.”

See Rutledge, 592 U.S. at 86 (citing Shaw v. Delta Air Lines, Inc., 463 U.S. 85, 97

(1983); Egelhoff, 532 U.S. at 151). But Section 42(b) does not mandate that agencies

structure their ERISA plans any particular way. Certainly, an agency that does not

offer “substantially similar benefits” can comply by amending an existing ERISA plan



                                          9
 Case: 1:23-cv-16208 Document #: 110 Filed: 05/22/25 Page 10 of 20 PageID #:1875




or adopting a new one. But it can also comply by paying workers the cash value of the

cost of the benefits provided by the client and leaving the existing ERISA plans as

they are.

      Though not binding on this Court, the Ninth Circuit’s decision in Golden Gate

Rest. Ass’n v. City & Cnty. of San Francisco, 546 F.3d 639 (9th Cir. 2008) is

instructive. At issue in that case was a San Francisco ordinance that required certain

employers to make minimum healthcare payments on behalf of their employees,

either by contributing to new or existing ERISA plans or by paying the City directly.

Id. at 645–46. The Court held that the ordinance was not “connected with” ERISA

plans because employers could meet the statutory requirement without establishing

or changing an existing ERISA plan. Id. at 656. The City-payment option gave

“employers a meaningful alternative that allows them to preserve the existing

structure of their ERISA plans.” Id. at 660. So too here, by utilizing the cash

alternative, an agency can fully satisfy Section 42(b)’s obligations without touching

an ERISA plan.

      In addition, several courts outside of this Circuit have held that laws

guaranteeing a minimum level of compensation, comprised of both wages and

benefits, are not “connected with” ERISA plans because employers can satisfy their

obligations without an ERISA plan. See, e.g., Concerned Home Care Providers, Inc. v.

Cuomo, 783 F.3d 77, 89 (2d Cir. 2015) (state law mandating minimum rate of

compensation for home care aids, which could include wages or “other direct

compensation paid to or provided for” benefits); Keystone Chapter, Associated



                                         10
 Case: 1:23-cv-16208 Document #: 110 Filed: 05/22/25 Page 11 of 20 PageID #:1876




Builders & Contractors, Inc. v. Foley, 37 F.3d 945, 958 (3d Cir. 1994) (state law

mandating public works contractors pay employees a minimum “prevailing wage,”

including a benefits component that could be satisfied through benefits or cash). Like

these laws, Section 42, viewed as a whole, guarantees temporary workers a minimum

level of compensation, comprised of both a wage component and a benefit component,

and the benefits component can be satisfied through means unconnected with ERISA

plans.

         Plaintiffs point out that in Golden Gate and the minimum level of

compensation cases, determining the expenditure obligation was mechanical. For

example, in Golden Gate, employers simply multiplied an employee’s total number of

hours worked by a rate set forth in the ordinance. Id. at 644. That stands in sharp

contrast to Section 42(b). At the start, an agency will have to identify the temporary

workers who have worked more than 720 hours at a particular client site and

therefore fall within Section 42(b)’s scope. R. 88-2 ¶ 56; R. 88-3 ¶¶ 37–38. For each

worker, the agency will have to identify directly hired employees at the client site

who perform “the same or substantially similar work under similar working

conditions,” and determine the “job classification” to which they belong, which could

be based on classification scheme of the Bureau of Labor Statistics (“BLS”), the client,

or otherwise. R. 88-2 ¶¶ 55, 76–77. After ascertaining the benefits provided to

employees in that job classification, the agency will have to compare those benefits

with the benefits it provides to its temporary workers and determine whether the




                                          11
 Case: 1:23-cv-16208 Document #: 110 Filed: 05/22/25 Page 12 of 20 PageID #:1877




benefits are “substantially similar,” which is not defined in the statute. 4 R. 88-2 ¶¶

57, 58, 62, 78–79; R. 88-3 ¶ 36; R. 88-4 ¶ 21. If the agency decides the benefits are not

“substantially similar,” it will have to decide how it will comply. It can change the

benefits provided to its workers through new or amended ERISA plans. Or it can

calculate and pay the “hourly average cash equivalent of the actual cost of the

benefits” provided by the client. 5 R. 88-2 ¶¶ 61–63; R. 88-3 ¶ 35; R. 88-4 ¶¶ 17, 20.

      As described by Plaintiff agencies’ representatives in affidavits and testimony,

engaging in this analytical process is likely to be difficult, burdensome, and costly,

and will involve decisions that are individualized and discretionary in nature. But

that does not mean that the process interferes with the uniformity of plan

administration in a manner that implicates the “connected with” type of ERISA

preemption. See De Buono v. NYSA-ILA Med. & Clinical Servs. Fund, 520 U.S. 806,

816 (1997) (“Any state tax, or other law, that increases the cost of providing benefits

to covered employees will have some effect on the administration of ERISA plans, but

that simply cannot mean that every state law with such an effect is pre-empted by

the federal statute.”); see also Rutledge, 592 U.S. at 87 (“[C]reating inefficiencies alone

is not enough to trigger ERISA pre-emption.”). Section 42(b) does not compel any



4 The Department began the rulemaking process with respect to the prior version of

the benefits provision to provide guidance on compliance. The Court would expect
that the Department will do the same with respect to the new provision.
5 Plaintiffs suggest there is a difference between the “employees performing the same

or substantially similar work on jobs . . . under similar working conditions” and “the
applicable directly hired employees.” E.g., R. 88 at 10 (“[T]he New Benefits Provision
requires assessing the benefits received by two different groups—the (1) job
classification and the (2) applicable directly hired employees[.]”) (citing R. 88-2 ¶ 80).
In the Court’s view, such a reading strains the plain meaning of the statutory text.
                                            12
 Case: 1:23-cv-16208 Document #: 110 Filed: 05/22/25 Page 13 of 20 PageID #:1878




change to what is covered, how beneficiaries are designated, or the way benefits are

disbursed under an ERISA plan. Cf. Egelhoff, 532 U.S. at 151 (state law requiring

plan administrators to either follow specific rules for determining beneficiary status

or opt out by amending plan had “connection with” ERISA plans); Shaw, 463 U.S. at

89, 100 (state law requiring employers to provide the same benefits for pregnancy as

for any other disability “related to” ERISA plans). Nor does it impose any additional

recordkeeping or disclosure requirements on a plan. Cf. Gobeille, 577 U.S. at 323

(state law requiring plans to report detailed information about claims and plan

members had “connection with” ERISA plans). Section 42(b) may economically

influence agencies to make changes to their ERISA plans to provide different benefits,

but it does not force them to do so. See Rutledge, 592 U.S. at 87 (“ERISA does not pre-

empt state rate regulations that merely increase costs or alter incentives for ERISA

plans without forcing plans to adopt any particular scheme of substantive coverage.”);

Dillingham, 519 U.S. at 332–33 (state law that incentivized, but did not require,

plans to follow certain standards for apprenticeship programs was not “connected

with” ERISA plans). Agencies can continue administering the same ERISA plans

with the same terms in the same way—or administering no ERISA plans—if they so

choose.

      The Court notes that it reached a different conclusion when presented with

similar arguments about the original provision. That conclusion was based on two

cases: Egelhoff and Retail Industry Leaders Association v. Fielder, 475 F.3d 180, 183

(4th Cir. 2007). With the benefit of new briefing and renewed review, the Court finds



                                          13
 Case: 1:23-cv-16208 Document #: 110 Filed: 05/22/25 Page 14 of 20 PageID #:1879




the state laws at issue in these cases distinguishable from Section 42(b) in their

connectedness to ERISA plans.

      In Egelhoff, the Supreme Court considered a Washington law that forced plan

administrators to follow certain rules for determining beneficiary status, rather than

allowing administrators to pay benefits to those identified in the plan documents. 532

U.S. at 147. The law bore some resemblance to Section 42(b) in that it offered two

ways of complying with it. But in Egelhoff, a plan administrator either had to follow

the statutory beneficiary scheme or amend its ERISA plan to opt out. Id. at 150. In

other words, there was no way of complying with the state law without changing the

way an ERISA plan was operated or written. Plan administrators would thus have to

“maintain familiarity with the laws of all 50 States so that they can update their plans

as necessary to satisfy the opt-out requirements of other, similar statutes.” Id. at 151

(emphasis added). In contrast, if an agency chooses to comply with Section 42(b) by

paying cash, it need not take any action with respect to any ERISA plan it may have

or may not have. 6




6 Plaintiffs also argue briefly that the provision “governs a central matter of plan

administration” because it regulates “the payment of benefits.” In support, Plaintiffs
rely on Egelhoff, wherein Supreme Court held that “unlike generally applicable
laws regulating ‘areas where ERISA has nothing to say,’ which we have upheld
notwithstanding their incidental effect on ERISA plans, this statute governs the
payment of benefits, a central matter of plan administration.” 532 U.S. at 148
(quoting Dillingham, 519 U.S. at 330) (cleaned up). But in this Court’s view, the
Supreme Court did not use the “payment of benefits” as broadly as Plaintiffs suggest.
The law in Egelhoff dictated to whom benefits would be disbursed under a plan. How
benefits are disbursed under a plan is a matter of plan administration. Paying the
cash value of the cost of benefits is not.
                                          14
 Case: 1:23-cv-16208 Document #: 110 Filed: 05/22/25 Page 15 of 20 PageID #:1880




      There is a similar distinction to be made with Fielder. In that case, the Fourth

Circuit considered a Maryland law that required certain employers to spend at least

8% of their total payrolls on employee healthcare costs. Fielder, 475 F.3d at 183. As

with Section 42(b) and the law in Egelhoff, the Maryland law offered a choice:

employers could increase contributions to an ERISA plan or pay the amount their

spending fell short to the State. Id. However, the Fourth Circuit stated that because

an employer “would gain nothing” from paying the State, the “only rational choice”

was changing the ERISA plans to meet the minimum spending requirement. Id. at

193. By effectively mandating how employers structured their healthcare plans, the

law had an “obvious” connection with ERISA plans. Id.

      Plaintiff agencies’ representatives claim that calculating the hourly average

cash equivalent of the actual cost of benefits will be “difficult” or even “impossible.”

E.g., R. 88-3 ¶ 81, 88-4 ¶¶ 20, 26. But that is based on Plaintiffs’ claim that the statute

requires them “to determine the actual cost for each employee in the applicable cohort

for each benefit, aggregate them all, and find an average.” R. 88 at 10–11. The statute

does not dictate that agencies calculate the hourly average cash equivalent of the

actual cost of benefits in this way. Defendant offers a far more straightforward

calculation method of dividing the client’s total benefits expenditure for the relevant

job classification by the number of employees in that classification. See R. 94-7 at

IDOL00142, IDOL000151 (describing BLS’s methods for calculating average cost of

benefits). Indeed, Section 42(c) requires third-party clients to provide agencies with

“all necessary information” to determine this value. See 820 ILCS 175/42(c). In sum,



                                            15
 Case: 1:23-cv-16208 Document #: 110 Filed: 05/22/25 Page 16 of 20 PageID #:1881




unlike in Fielder, neither the statutory language nor the factual record shows that

the cash option is not a real option.

      On that basis, Plaintiffs have not shown they are likely to succeed on their

ERISA preemption claim based on an impermissible “connection with” ERISA plans.

      IV.    Creation of ERISA Plan

      Plaintiffs also argue that by demanding that agencies engage in this analytical

process, Section 42(b) imposes an ERISA plan. 7 The starting point for this argument

is the Supreme Court’s decision in Fort Halifax Packing Co. v. Coyne, 482 U.S. 1, 12

(1987). In that case, the Supreme Court considered whether ERISA preempted a

Maine statute that provided for a one-time, lump-sum severance payment to

employees in the event of a plant closure. The Court held that the statute did not

establish or require employers to maintain an ERISA plan because the “theoretical

possibility of a one-time obligation in the future simply creates no need for an ongoing

administrative program for processing claims and paying benefits.” Id. (“To do little

more than write a check hardly constitutes the operation of a benefit plan.”).

      Thereafter, in Simas v. Quaker Fabric Corp., 6 F.3d 849, 853 (1st Cir. 1993),

the First Circuit considered a Massachusetts statute that required employers to pay

severance benefits to employees who lost their jobs within two years of a corporate

takeover. Applying Fort Halifax, the Court explained that to comply, a Massachusetts




7 Other courts have considered similar arguments under the “reference to” category

of ERISA preemption. E.g., Golden Gate, 546 F.3d at 648 (explaining that if the
ordinance at issue “creates an ERISA plan,” it “almost certainly makes an
impermissible ‘reference to’ an ERISA plan.”).
                                          16
 Case: 1:23-cv-16208 Document #: 110 Filed: 05/22/25 Page 17 of 20 PageID #:1882




employer “need[ed] some ongoing administrative mechanism for determining” each

employee’s eligibility for the severance payment, which included a “for cause

determination” that “call[ed] for judgments based on information well beyond the

employee’s date of hiring and termination.” Id. Because the Massachusetts statute

imposed a regime that amounted to an ERISA plan, it was preempted by ERISA. Id.

at 856; see also Collins v. Ralston Purina Co., 147 F.3d 592, 597 (7th Cir. 1998)

(applying Fort Halifax and Simas to hold that an employer’s retention agreements

were preempted by ERISA because they required “[p]rolonged individualized

decision-making concerning benefits”); cf. Howard Jarvis Taxpayers Ass’n v.

California Secure Choice Ret. Sav. Program, 997 F.3d 848, 853, 862–63 (9th Cir. 2021)

(distinguishing Simas and holding that California law requiring certain employers to

participate in state-run IRA savings program did not impose ERISA plan because

employers’ eligibility determinations were “essentially mechanical” and “non-

discretionary”).

      Similar to Simas, to comply with Section 42(b), agencies will need to maintain

an ongoing administrative scheme with particularized and judgment-laden

determinations about workers’ eligibility for new or different benefits or the cash

equivalent of the cost of the benefits provided by their clients. But Simas involved

severance payments. Certain payments of benefits do not constitute ERISA plans if

paid out of an employer’s general assets. See Massachusetts v. Morash, 490 U.S. 107,

109, 116 (1989) (ERISA did not preempt state law requiring employers to pay

employees vacation benefits on the date of discharge because those benefits were



                                         17
 Case: 1:23-cv-16208 Document #: 110 Filed: 05/22/25 Page 18 of 20 PageID #:1883




“payable on a regular basis from the general assets of the employer and are

accumulated over time only at the election of the employee”); 29 C.F.R. § 2510.3-

1(b)(2)–(3) (payment of compensation to employees for medical leave, vacation,

sabbatical leave, or absences related to military duty, jury duty, or training are not

ERISA plans if paid out of the employer’s general assets). Plaintiffs do not address

this argument in reply. On that basis, Plaintiffs have not shown they are likely to

succeed on their ERISA preemption claim based on the argument that the

administrative obligations imposed by Section 42(b) constitute an ERISA plan.

      V.     Alternative Enforcement Mechanism

      Plaintiffs’ final argument is that ERISA preempts Section 42(b) because of the

ways it can be enforced against agencies. ERISA preempts “state-law causes of action

seeking ‘alternative enforcement mechanisms’ as an end run around ERISA’s more

limited remedial scheme.” Halperin, 7 F.4th at 541 (quoting Travelers, 514 U.S. at

645). Plaintiffs argue that the DTLSA’s provisions permitting the Department to

rescind licenses and issue fines and granting a private right of action to interested

parties, including temporary workers, see 820 ILCS 175/55, 67, 70, 95, circumvent

the remedial scheme at 29 U.S.C. § 1132(a). Under Section 1132(a), “a plan

participant or beneficiary may sue to recover benefits due under the plan, to enforce

the participant’s rights under the plan, or to clarify rights to future benefits.” Pilot

Life Ins. Co. v. Dedeaux, 481 U.S. 41, 53 (1987). “Relief may take the form of accrued

benefits due, a declaratory judgment on entitlement to benefits, or an injunction

against a plan administrator’s improper refusal to pay benefits.” Id.



                                          18
 Case: 1:23-cv-16208 Document #: 110 Filed: 05/22/25 Page 19 of 20 PageID #:1884




      But this suit does not present any cause-of-action arising under the DTLSA.

Cf. Ingersoll-Rand Co. v. McClendon, 498 U.S. 133, 148 (1990) (ERISA preempted

state-law wrongful discharge claim based on employee’s allegation that employer

fired him to avoid contributing to or paying benefits under a pension fund); Pilot Life,

481 U.S. at 54 (ERISA preempted state-law breach of contract and tort claims for

alleged improper processing of claims for plan benefits). Instead, it is a facial

preemption challenge. Whether a cause of action arising under the DTLSA is an “end

run around” ERISA’s enforcement scheme will depend on the nature of that cause of

action, including who is asserting it and whether it involves an ERISA plan. See

Halperin, 7 F.4th at 545 (claims brought by bankruptcy creditors against company’s

directors and officers were not preempted as an “alternative enforcement mechanism”

because plaintiffs had no rights under ERISA as participants, beneficiaries, or

fiduciaries); cf. Sherfel v. Newson, 768 F.3d 561, 567–68 (6th Cir. 2014) (ERISA

preempted Wisconsin law as applied to Nationwide’s plan because it authorized

employees to obtain benefits provided by that ERISA plan). For that reason, Plaintiffs

have not shown they are likely to succeed on their ERISA preemption claim based on

the DTLSA’s enforcement provisions.

      Because the Court finds that Plaintiffs have not shown they are likely to

succeed on the merits, the Court does not address the other elements of the

preliminary injunction analysis. Plaintiffs’ motion for a preliminary injunction is

denied.




                                          19
 Case: 1:23-cv-16208 Document #: 110 Filed: 05/22/25 Page 20 of 20 PageID #:1885




                                    Conclusion

      For the foregoing reasons, the Court denies Plaintiffs’ motion for a preliminary

injunction.




                                              ENTERED:



                                              ______________________________

                                              Honorable Thomas M. Durkin
                                              United States District Judge
Dated: May 22, 2025




                                         20
